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                                      23-0303


                                      IN THE


     United States Court of Appeals
                           FOR THE SIXTH CIRCUIT



              IN   RE
                            d
                        FIRST ENERGY CORP . SECURITIES LITIGATION


                  ON PETITION FOR PERMISSION TO APPEAL FROM THE
             U.S. DISTRICT COURT FOR THE SOUTHERN DISTRICT OF OHIO
            NOS. 20-CV-3785, 20-CV-4287, CHIEF JUDGE ALGENON L. MARBLEY



       DEFENDANT FIRSTENERGY CORP.’S AND CERTAIN
       INDIVIDUAL DEFENDANTS’ REPLY IN SUPPORT OF
         THEIR PETITION FOR PERMISSION TO APPEAL
    PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 23(f)


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                                  INTRODUCTION

      As Plaintiffs acknowledge, this Court accepts Rule 23(f) appeals when

petitioners show that “(i) they’re likely to succeed on appeal even under the

deferential abuse-of-discretion standard; (ii) a questionable class-certification ruling

has created undue settlement pressure . . . , or (iii) the certification decision presents

a novel or unsettled question of law.” Opp. 1 (emphasis added). As confirmed by

the outpouring of support from amici—including former SEC officials, law

professors, industry groups, and business federations—Defendants’ Petition easily

satisfies each of those criteria, any one of which supports review.

      On Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

Plaintiffs repeatedly invoke the abuse-of-discretion standard that applies to class-

certification decisions, but recognize that a court abuses its discretion when it

“improperly applie[s] the law.” Opp. 2-3 (quoting Rikos v. Procter & Gamble Co.,

799 F.3d 497, 504 (6th Cir. 2015)). They admit that “the correct application of

Affiliated Ute” is “important to class-action litigation as a whole.” Id. at 25. But

they say nothing in response to the central legal argument made by Defendants and

their amici: that Affiliated Ute does not apply to securities claims based on half-

truths. Tellingly, Plaintiffs ignore the seven courts of appeals that have held as

much. See Pet. 12-15.
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      Plaintiffs focus their attention on the district court’s (mis)application of

Comcast Corp. v. Behrend, 569 U.S. 27 (2013).              They invoke the parties’

submissions to try to paper over the court’s failure to undertake the “rigorous”

judicial analysis that Comcast demands. Id. at 35. They even rewrite the court’s

opinion to omit its clearly erroneous conclusion that the Exchange Act, like the

Securities Act, provides a statutory formula for calculating damages. But Plaintiffs

cannot obscure their failure to put forward a common damages methodology that

can reliably measure their complex alleged damages, which turn on the varying

impact of distinct acts of political corruption on the price of FirstEnergy’s securities

over a 3.5-year period.1




1
       The so-called “Non-Speaking Defendants” filed a separate Rule 23(f) petition,
In re Robert Reffner, No. 23-0302, arguing that the district court erred in certifying
a class against them notwithstanding its recognition that Plaintiffs would need to
prove individual reliance for thousands of class members. To avoid this Court’s
review of yet another error, Plaintiffs then requested and obtained dismissal of those
claims against the Non-Speaking Defendants only. R. 446 (Dismissal Order) at
10138-10140. The Non-Speaking Defendants have moved to dismiss their separate
petition, but continue to support review of the important legal questions presented
here.


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                                   ARGUMENT

I.    PLAINTIFFS CANNOT SALVAGE THE DISTRICT COURT’S
      ERRONEOUS AFFILIATED UTE AND COMCAST HOLDINGS.

      A.     The District Court Misconstrued the Affiliated Ute Presumption.

      As Defendants have shown (Pet. 11-15), the district court made two legal

errors in applying Affiliated Ute here. First, the court rejected the settled rule that

the presumption applies only where the plaintiffs’ case primarily involves omissions,

and not in “mixed cases” of omissions and misstatements. R. 435 (Certification Op.)

at 9820-9821. Second, the court concluded that Affiliated Ute applied because the

challenged statements here “painted an incomplete picture of the alleged truth.” Id.

at 9822. The court did so even though seven courts of appeals have correctly held

that the “Affiliated Ute presumption does not apply to” such “half-truths.”

Waggoner v. Barclays PLC, 875 F.3d 79, 96 (2d Cir. 2017).

      In trying to avoid review, Plaintiffs do not defend either of the district court’s

legal rulings. Regarding the first, Plaintiffs contend that the “district court didn’t

say” what it clearly said, Opp. 20—namely, that it was “persuaded by” a few outlier

decisions that “have applied Affiliated Ute to cases characterized as mixed cases.”

R. 435 (Certification Op.) at 9821. Plaintiffs then suggest that the court’s comments

were dicta, but even if so, those comments will still lead to further confusion and

deepen the district-court division within this Circuit. See Pet. 15-16.




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      At any rate, the district court’s key error was treating half-truths made in

affirmative statements as omissions supporting application of the Affiliated Ute

presumption. Plaintiffs say almost nothing about that legal error. They do not

dispute that their complaint alleges 46 misleading affirmative statements. R. 72

(Consolidated Compl.) at 1576-1592, ¶¶ 95-134.          They do not contest that a

statement that “paint[s] an incomplete picture of the alleged truth” is a species of

misstatement, not an omission. They ignore that seven courts of appeals have

refused to apply Affiliated Ute to claims based on half-truths. See Pet. 13-14. And

they do not engage with Defendants’ arguments that Affiliated Ute’s logic does not

apply to half-truths, or that extending Affiliated Ute to half-truths would allow

securities plaintiffs to avoid Basic’s more demanding requirements. Id. at 14-17.

      Rather, Plaintiffs contend that the district court’s statement, in its motion-to-

dismiss opinion, that the “Affiliated Ute presumption . . . appears appropriate” is a

factual finding that “must be honored” unless “it was ‘clearly erroneous.’” Opp. 20

(citation omitted). That is wrong. The court’s conclusion that Plaintiffs’ case

primarily involves omissions rested on its legally erroneous determination that a

half-truth constitutes an omission. The court made no factual finding, which would

have been “inappropriate at the motion-to-dismiss stage.” Morris Aviation, LLC v.

Diamond Aircraft Indus., Inc., 536 Fed. Appx. 558, 570 (6th Cir. 2013). Because




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the district court “improperly applie[d] the law,” its certification under Affiliated Ute

was, by definition, an abuse of discretion. Rikos, 799 F.3d at 504 (emphasis added).

         Plaintiffs also do not explain how the district court’s “alternate holding” that

the class could be certified under Basic absolves its erroneous application of

Affiliated Ute. Opp. 23-24. They do not dispute that Basic and Affiliated Ute require

different proof, evidence, and jury determinations. See Pet. 17. They effectively

concede that these separate presumptions cannot apply “simultaneously,” dismissing

as “dictum” the court’s decision to proceed that way. Opp. 23 n.11. And they

apparently recognize that Basic and Affiliated Ute cannot be applied “seriatim.” Id.

at 23.

         B.    The District Court Misapplied Comcast.

         Plaintiffs also cannot explain away the district court’s failure to undertake any

Comcast analysis for their Exchange Act claims, let alone the required “rigorous”

analysis.     Pet. 18-19.     The court offered just one sentence of reasoning:

“predominance exists with respect to [Exchange Act] damages for the same reasons

as articulated in the previous section [about Securities Act damages].” R. 435

(Certification Op.) at 9819. But in that previous section of its opinion, the court had

held that “Comcast does not bar certification” of Plaintiffs’ Securities Act claims

because “the Securities Act provides a statutory formula for damages.” Id. at 9812.

The Exchange Act has no such formula. Thus, either the court wrongly thought that



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the Exchange Act contained its own statutory formula, or wrongly thought that

Exchange Act damages could be calculated using the Securities Act formula. Either

way, the court violated Comcast by certifying the Exchange Act class based on a

damages methodology that is not “consistent with [Plaintiffs’] liability case.” 569

U.S. at 35.

      Unable to defend the district court’s flawed reasoning, Plaintiffs again try to

muddy the waters.       First, they claim that the court’s damages rulings were

“reasonabl[e]” and “well within [its] discretion.” Opp. 12, 15. But Comcast made

clear that whether a damages methodology comports with the requirements of Rule

23(b) is a question of law, not of fact, subject to de novo review. 569 U.S. at 36 n. 5.

      Second, Plaintiffs claim that the district court did not mean what it erroneously

said about Exchange Act statutory damages. Opp. 13. But “whatever [Plaintiffs]

think[] the [court] meant to say,” this Court is required to take it “at its word.” Erica

P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 814-815 (2011). And “[b]ased

on those words, the decision below cannot stand.” Id. at 815.

      In trying to resuscitate the district court’s opinion, Plaintiffs suggest that

perhaps the court actually meant that they had satisfied Comcast for their Exchange

Act claims, just as for their Securities Act claims. Opp. 12-14. In Plaintiffs’ rewrite,

the court simply stated its Exchange Act conclusion, without any analysis or support.

Plaintiffs then suggest that such an unexplained ruling would be permissible when


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“complemented by” the record, which shows that “the parties thoroughly briefed the

issue,” “submitted hundreds of pages of expert” reports and testimony, and gave oral

argument. Id. at 11-13. But it does not matter how much work the parties put in;

“for purposes of Rule 23,” it is “courts [that] must conduct” a “rigorous analysis to

determine whether” common issues predominate.             Comcast, 569 U.S. at 35

(emphasis added). That “procedural safeguard[],” id. at 34, reflects that class

certification “bestows upon plaintiffs extraordinary leverage, and its bite should

dictate the process that precedes it.” In re Hydrogen Peroxide Antitrust Litig., 552

F.3d 305, 320 (3d Cir. 2008), as amended (Jan. 16, 2009). In this Circuit, a court

abuses its discretion by failing to “follow the proper procedures in making the

[challenged] determination.” In re Red Ball, Inc., 157 Fed. Appx. 850, 851 (6th Cir.

2005).

      Third, Plaintiffs incorrectly suggest that the Private Securities Litigation

Reform Act of 1995 (“PSLRA”) provides a “statutory formula” for Exchange Act

damages. Opp. 14-15. But, unlike the Securities Act, the PSLRA does not set out,

let alone require, any particular formula for calculating damages. See McMahan &

Co. v. Wherehouse Ent., Inc., 65 F.3d 1044, 1048 (2d Cir. 1995) (“The plain

language of [the Securities Act] prescribes the method of calculating damages . . .

and the court must apply that method in every case.”). The PSLRA simply imposes

a “[l]imitation on damages,” instructing that plaintiffs cannot point to a security’s


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lowest price as a benchmark, but rather must use “the mean trading price” during the

90 days following the corrective disclosure. 15 U.S.C. § 78u-4(e)(1).

      As a result of its clear error in reasoning, the district court erroneously

certified the Exchange Act class. It did so without actually determining, as Comcast

commands, whether Plaintiffs’ damages are “capable of measurement on a classwide

basis” in a manner that will “measure only those damages attributable to” their

theory of wrongdoing. 569 U.S. at 34-35. Plaintiffs made no such showing. As

Defendants have explained (Pet. 18-21), to ensure that Plaintiffs’ damages

methodology captures only artificial price inflation, Plaintiffs must propose a

methodology that measures the fluctuations in inflation in the price of FirstEnergy’s

securities that necessarily would result from dozens of alleged half-truths, over a

3.5-year period, about the company’s legal compliance and its varying efforts to

secure legislative and regulatory relief against a shifting political landscape.

Plaintiffs’ damages expert concededly did not account for those complexities in

Plaintiffs’ liability theory; he merely promised that he could do so later. See R. 293-

7 (Dalrymple Report) at 6303 ¶¶ 107-108; R. 339-3 (Dalrymple Dep. Tr.) at 7287 p.

182:1-6.

      Plaintiffs respond that they can “insert[] specific figures later.” Opp. 16-17.

To be sure, “no actual calculation needs to be performed at this stage,” but Comcast

still requires Plaintiffs to provide “assurance beyond [their experts’] say-so” that


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“there is a damages model that will permit the calculation of damages on a classwide

basis.” Fort Worth Employees’ Ret. Fund v. J.P. Morgan Chase & Co., 301 F.R.D.

116, 142 (S.D.N.Y. 2014); see Ward v. Apple Inc., 784 Fed. Appx. 539, 540 (9th

Cir. 2019) (under Comcast, “not enough” to “provide[] only a promise of a model to

come”). Because it remains “unclear . . . how Plaintiffs plan to engage in the difficult

process of” accurately estimating the varying inflation caused by Defendants’

alleged half-truths, “a more precise specification of the damages calculation method

is necessary” before a class may be certified. Fort Worth, 301 F.R.D. at 141-142.

      Plaintiffs chide Defendants for not mentioning two cases that they claim

relieve Plaintiffs from accounting for time-varying inflation in their common

damages methodology. Opp. 17-18. One is Waggoner; the other is a district court

decision from this Circuit that simply cited Waggoner, see Weiner v. Tivity Health,

Inc., 334 F.R.D. 123, 138 (M.D. Tenn. 2020). In Waggoner, unlike here, the theory

of liability was simple:     shareholders were allegedly harmed after a bank’s

statements about its commitment to “protecting its [] investors [in its trading

platform] were shown to be false.” 875 F.3d at 86-88, 106. The district court found,

and the Second Circuit affirmed, that the plaintiffs had proposed a damages model

consistent with their liability theory, and that the defendant’s time-varying-inflation

argument concerned only the “precise . . . [c]alculation[]” of damages. Id. at 106.

In this case, by contrast, Plaintiffs’ liability theory is premised on allegations of a


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fraud that changed over the class period, as legislative relationships were cultivated,

statehouse leaders selected, laws enacted, and a repeal campaign waged. In any

event, to the extent that courts disagree on the proper application of Comcast, that is

no reason to deny this Petition; it is yet another reason to grant it.

II.   PLAINTIFFS’ OPPOSITION CONFIRMS THAT THE OTHER RULE
      23(f) FACTORS SUPPORT REVIEW.

      As Plaintiffs acknowledge, Rule 23(f) review is warranted where a

“questionable class-certification ruling has created undue settlement pressure” on

defendants. Opp. 1. In contending that no such pressure exists here, Plaintiffs first

suggest that Defendants may not face “billions of dollars in liability.” Opp. 24. But

several pages earlier, Plaintiffs say precisely the opposite:            that “FirstEnergy

investors suffered billions of dollars in damages.” Opp. 5 (emphasis added).

Plaintiffs’ complaint likewise alleges that the fraud “inflict[ed] billions of dollars of

losses on FirstEnergy investors.” R. 72 (Consolidated Compl.) at 1549 ¶ 9.

      Plaintiffs’ “too big for Rule 23(f)” theory is even weaker. They suggest that

nearly $8 billion in potential liability, see Pet. 7, may not create significant

settlement pressure because FirstEnergy is a big company. See Opp. 24. But $8

billion is many times FirstEnergy’s typical annual earnings,2 and ten times the


2
      E.g., https://investors.firstenergycorp.com/investor-materials/news-releases/
news-details/2023/FirstEnergy-Announces-Fourth-Quarter-and-Full-Year-2022-
Financial-Results/default.aspx, visited April 30, 2023.


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“hundreds of millions” figure that this Court called “enormous” in a case Plaintiffs

cite. In re Cmty. Health Sys., Inc., 2019 WL 5549319, at *2 (6th Cir. Oct. 23, 2019).

As this Court has recognized, the prospect of losing “billions of dollars” puts “heavy

pressure on defendants”—even large corporations—“to settle.” In re E.I. DuPont

de Nemours & Co. C-8 Pers. Inj. Litig., 2022 WL 4149090, at *9-10 (6th Cir. Sept.

9, 2022).

      The district court’s decision also plainly “involves important and unsettled

questions of law” in this Circuit. Id. at *1. Even Plaintiffs recognize that the

questions presented “are important to class-action litigation as a whole.” Opp. 25.

Through their various contortions, they assert that the court got the answers right.

Id. But, as demonstrated in the Petition and above, the court did not; indeed, even

Plaintiffs barely defend its actual reasoning.

      These legal issues demand this Court’s clarification. Plaintiffs do not contest

that the district court’s Affiliated Ute rulings implicate “novel” and “unsettled”

questions, at least in this Circuit, but baldly assert that such concerns are

“overblown.”    Id.   And this Court has never offered guidance on the proper

application of Comcast in the context of a securities case. Plaintiffs claim that it is

already clear in this Circuit that Comcast does not apply unless a plaintiff proposes

“multiple theories of liability.” Opp. 24-25. But Plaintiffs’ effort to limit Comcast

to its facts underscores, rather than undermines, the need for this Court’s guidance.


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The two decisions on which Plaintiffs rely, one of which is unreported, see id., do

not stand for that proposition. And Plaintiffs ignore that district courts throughout

this Circuit, as reflected by their divergent opinions, have not consistently applied

Comcast. See Pet. 22-23.

                                 CONCLUSION

      Defendants’ Petition should be granted.


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                      CERTIFICATE OF COMPLIANCE

      This Reply complies with the type-volume limitation of Fed. R. App.

P. 27(d)(2) because the brief contains 2,598 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f) and 6 Cir. R. 32. This Reply complies with the

typeface requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of

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spaced typeface using Microsoft Word 2016 in 14-point Times New Roman font.



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Dated: May 1, 2023
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                           CERTIFICATE OF SERVICE

      I hereby certify that, on May 1, 2023, a true and correct copy of the foregoing

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using the CM/ECF system, which will send notification of such filing to and

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                                             /s/ Robert J. Giuffra, Jr.
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